      Case 3:21-cv-00065 Document 104 Filed on 07/28/21 in TXSD Page 1 of 2
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                           July 29, 2021
                           UNITED STATES DISTRICT COURT
                                                                                        Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

                                                 §
                                                 §
STATE OF TEXAS et al                             §
                                                 § CIVIL ACTION NO. 3:21-CV-065
VS.                                              §
                                                 §
JOSEPH R. BIDEN, JR., et al                      §
                                                 §
                                                §

                                            ORDER

       Your initial scheduling conference in this case is set to take place at 9:00 a.m. on Thursday,

September 2, 2021. That scheduling conference will proceed as scheduled. As a general rule, I

require counsel to attend initial scheduling conferences in person.         Given the coronavirus

outbreak’s devastating impact on our society, that general rule is obviously suspended for the

September 2, 2021 initial scheduling conferences. In an effort to maximize modern technology,

we will conduct the pretrial conferences by videoconference using the platform Zoom. A day or

so before the initial scheduling conference my case manager will circulate to all counsel of record

a link to join the Zoom meeting. Please click on that link at least 5-10 minutes before your hearing

to test your system.

       Here are some basic instructions on how to use Zoom

           REQUIRED EQUIPMENT

               x   a telephone; or
               x   a smart phone with camera; or
               x   a computer with camera and microphone and access to internet service.
     Case 3:21-cv-00065 Document 104 Filed on 07/28/21 in TXSD Page 2 of 2




           SOFTWARE

               x   Please download the Zoom Client well in advance of the hearing:

                          ¾ The free app for smartphone is available at the Apple App Store for
                            iPhones and Google Play for Androids.

                          ¾ The Free Software for your computer is available at Zoom.us. Click
                            on the “Resources” tab at the top right and select “Download Zoom
                            Client.”

               x   You do not have to register with Zoom, but it is encouraged and it is free.

       Please confer with opposing counsel as required by FED. R. CIV. P. 26(f), and prepare and

file by Thursday, August 26, 2021 a joint discovery/case management plan. Please use the joint

discovery/case management plan that can be found at:

https://www.txs.uscourts.gov/page/united-states-district-judge-jeffrey- v-brown.

Upon receipt and review of the joint discovery/case management plan, I will prepare a draft docket

control order and have my case manager email it to all counsel a few days before the initial

scheduling conference. We will discuss the draft docket control order on the videoconference.

       One other note: you are NOT required to wear formal courtroom attire during the

videoconference. You are, however, required to wear clothes.

       SIGNED and ENTERED this 28th day of July, 2021.




                                             ______________________________________
                                               ___________
                                                        ___________________
                                                        ___              _ ____________
                                                            ANDREW M. EDISON
                                                 UNITED STATES MAGISTRATE JUDGE




                                                2
